21-10699-dsj   Doc 310-4   Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit D:
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21-10699-dsj   Doc 310-4   Filed 12/15/21 Entered 12/15/21 16:39:00   Exhibit D:
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